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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                    MARTINSBURG


    MICHAEL PAUL PUZEY,

          Petitioner,

    v.                                               Criminal Action Nos. 3:00CR57-16
                                                                          3:00CR64-2
                                                         Civil Action No. 3:04CV63
                                                         (BAILEY)

    UNITED STATES OF AMERICA,

          Respondent.


                  ORDER ADOPTING REPORT AND RECOMMENDATION

          I.     Introduction

          On this day, the above-styled matter came before the Court for consideration of the

    Report and Recommendation (“R&R”) of Magistrate Judge James E. Seibert. By Standing

    Order dated March 24, 2000, this matter was referred Magistrate Judge Seibert for a

    proposed report and recommended disposition. On July 2, Magistrate Judge Seibert filed

    his R&R regarding the petitioner’s Motion to Set Aside Judgment Pursuant to Rule 60(b)

    of the Federal Rules of Civil Procedure. The petitioner timely filed his corresponding

    Objections on July 20, 2009.

          Pursuant to 28 U.S.C. § 636(b)(1)(c), this Court is required to make a de novo

    review of those portions of the magistrate judge’s findings to which objection is made.

    However, failure to file objections to the magistrate judge’s proposed findings and

    recommendation permits the district court to review under the standards that the district

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    court believes are appropriate and, under these circumstances, the parties’ right to de novo

    review is waived. See Webb v. Califano, 468 F. Supp. 825 (E.D. Cal. 1979). Accordingly,

    this Court will conduct a de novo review only as to the portions of the report and

    recommendation to which the petitioner objected. The remaining portions of the report and

    recommendation will be reviewed for clear error. As a result, it is the opinion of this Court

    that the Magistrate Judge’s Report and Recommendation [Crim. Doc. 3:00-cr-64 # 27;

    Crim. Doc. 3:00-cr-57 # 1402; Civ. Doc. 10] should be, and is, ORDERED ADOPTED.

           II.    Factual and Procedural History

           On April 26, 2001, a jury found the petitioner guilty of one count of conspiracy to

    distribute cocaine base, four counts of distribution of cocaine base, and one count of use

    of a firearm during and in relation to a drug trafficking offense. As a result, the Court

    sentenced petitioner to life imprisonment on the conspiracy count, a 240-month term of

    incarceration on three of the distribution counts, 480 months on the fourth distribution

    count, and a consecutive five-year sentence on the firearms count. Thereafter, petitioner

    unsuccessfully appealed to the Untied States Court of Appeals for the Fourth Circuit, which

    affirmed his conviction and sentence by unpublished opinion on August 11, 2003.

           On July 26, 2004, the plaintiff filed his first Petition for Writ of Habeas Corpus

    Pursuant to 28 U.S.C. § 2255. Upon consideration, the Magistrate Judge found petitioner’s

    claims to be without merit and recommended that the petition be dismissed. On July 15,

    2005, this Court overruled the petitioner’s objections thereto and adopted the R&R.

    Petitioner now files his Motion to Set Aside Judgment Pursuant to Rule 60(b) of the Federal

    Rules of Civil Procedure.



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           In the instant motion, the petitioner contends that the statute of limitations pursuant

    to 18 U.S.C. § 3282 had run on his Indictment and, therefore, the Indictment was invalid.

    Additionally, petitioner alleges that he had ineffective assistance of counsel that violated

    his Due Process rights under the United States Constitution.

           III.   Applicable Law

           Rule 60(b) of the Federal Rule of Civil Procedure states:

           On motion and just terms, the court may relieve a party or its legal

           representative from a final judgment, order, or proceeding for the following

           reasons: (1) mistake, inadvertence, surprise, or excusable neglect; (2) newly

           discovered evidence that, with reasonable diligence, could not have been

           discovered in time to move for a new trial under Rule 59(b); (3) fraud

           (whether previously called intrinsic or extrinsic), misrepresentation, or

           misconduct by an opposing party; (4) the judgment is void; (5) the judgment

           has been satisfied, released or discharged; it is based on an earlier judgment

           that has been reversed or vacated; or applying it prospectively is no longer

           equitable; or (6) any other reason that justifies relief.

           Fed. R. Civ. Pr. 60(b).

           In a Fourth Circuit decision, Dowell v. State Farm Fire and Cas. Auto. Ins. Co.,

    993 F.2d 46, 48 (4th Cir. 1993), the Court stated:

           before a party may seek relief under rule 60(b), a party must first show

           “timeliness, a meritorious defense, a lack of unfair prejudice to the opposing

           party, and exceptional circumstances.” Werener v. Cabo, 731 F.2d 204, 207



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             (4th Cir. 1984). After a party has crossed the initial threshold, he must then

             satisfy one of the six specific sections of rule 60(b). Id.

             Vickers v. Pendelton County Bd. of Educ., 2007 WL 2455466 *1, (N.D.W.Va.

    2007).

             “A Rule 60(b) motion that directly attacks a conviction or sentence is usually barred

    as a successive application.” Sanders v. U.S., 2006 WL 1432347 (D.S.C. 2006); quoting

    United States v. Winestock, 340 F.3d 200, 206 (4th Cir. 2003). The Fourth Circuit has

    held that “Rule 60(b) motions should be treated as successive applications for post-

    conviction relief under 28 U.S.C. § 2255 when they present claims that are equivalent to

    additional habeas claims.”       Hunt v. Nuth, 57 F.3d 1327, 1339 (4th Cir. 1995).           In

    Winestock, the Fourth Circuit further mandated that district courts must treat Rule 60(b)

    motions as successive collateral review applications when failing to do so would allow the

    applicant ‘to evade the bar against relitigation of claims presented in a prior application or

    the bar against litigation of claims not presented in a prior application.’” Id. at 206; quoting

    Calderon v. Thompson, 523 U.S. 538, 553 (1998) (holding that courts must not allow

    prisoners to circumvent the strict requirements of 28 U.S.C. § § 2254 and 2255 by

    attaching labels to petitions other than “successive application” for post-conviction relief).

             The Winestock court also described the method that courts should use to

    distinguish

    proper motions under Rule 60(b) from “‘successive applications in 60(b)’s clothing.’” Id. at

    207; quoting Lazo v. United States, 314 F. 3d 571, 573 (11th Cir. 2002) (per curiam). The

    Court stated:


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          a relatively straightforward guide is that a motion directly attacking the

          prisoner’s conviction or sentence will usually amount to a successive petition,

          while a motion seeking a remedy for some defect in a collateral review

          process will generally be deemed a proper motion to reconsider. Thus, a

          brand-new, free-standing allegation of constitutional error in the underlying

          criminal judgment will virtually always implicate the rules governing

          successive applications.

          Id.

          IV.    Discussion

          1.     Petitioner’s Statute of Limitations Argument

                 A. Magistrate Judge’s Findings

          In his Report and Recommendation as to the statute of limitations argument, the

    magistrate judge found:

          Because the indictment charges that the conspiracy was in effect until the

          entry of the indictment, which was on or about December 5, 2000, an

          agreement between the conspirators existed during the limitations period.

          Furthermore, petitioner was convicted of distributing cocaine on January 13,

          2000, and January 28, 2000 in Counts Forty-Four, Fifty- Four, and Fifty-Five

          of the indictment. Because these acts constitute an overt act in furtherance

          of the conspiracy and were within the limitations period, the prosecution for

          conspiracy against petitioner was legal. Accordingly, this claim must be

          dismissed.



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                  B. Petitioner’s Objections

           In his objections, the petitioner basically restates his previous arguments raised in

    the petition which perpetuate his self-serving conclusions that the five-year statute of

    limitations precluded the Government from bringing the Indictment against him.

    Specifically, the petitioner reiterates his baseless argument that Congress did not intend

    to include drug conspiracy offenses to be in the category of “continuing crimes.” This is

    simply a misstatement of the law.

                  C. District Court’s Findings

           The petitioner’s claim that the Indictment is not valid is brought pursuant to 60(b)(4),

    or that the ‘judgment is void.’ 18 U.S.C. § 3282 states:

           Except as otherwise expressly provided by law, no person shall be

           prosecuted, tried, or punished for any offense, not capital, unless the

           indictment is found or the information is instituted within five years next after

           such offense shall have been committed.

           18 U.S.C. § 3282.

           The petitioner’s argument is that the conspiracy charge in the Indictment alleges that

    a conspiracy took place from 1990 until the entry of the Indictment. He claims that because

    the events in 1990 occurred more than five (5) years prior to the Indictment, he cannot be

    charged under the statute stated above.

           “A prosecution for conspiracy is timely if, during some portion of the limitations

    period, (1) the agreement between the conspirators was in existence; and (2) at least one

    overt act in furtherance of that conspiratorial agreement occurred.” United States v.



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    United Medical and Surgical Supply Corp., 989 F.2d 1390, 1398 (4th Cir. 1993); quoting

    Grunewald v. United States, 353 U.S. 391, 396-97 (1957). “The fact that the conspiracy

    began outside the limitations period will not prevent prosecution as long as at least one

    overt act in furtherance of the conspiracy occurred within five years of the indictment.”

    United Medical, at 1398; see also United States v. Head, 641 F.2d 174, 177 (4th Cir.

    1981).

             Accordingly, because these acts constitute an overt act in furtherance of the

    conspiracy and were within the limitations period, the prosecution for conspiracy against

    the petitioner was legal. Therefore, this claim must be DISMISSED.



             2.     Petitioner’s Claim of Ineffective Assistance of Counsel

                    A. Magistrate Judge’s Findings

             As to the claim of ineffective assistance of counsel, the magistrate judge found the

    following:

             Petitioner claims that his attorney did not raise the statute of limitations

             defense and his attorney was unprepared for trial. Petitioner also claims that

             his lawyer was extremely hard to contact and was not able to communicate

             with him. However, petitioner has failed to show that this is an exceptional

             circumstance and, in the words of the Vickers Court, more than a lawyer’s

             ‘carelessness or ignorance.’ It is also clear that these claims are no more

             than an attack on petitioner’s conviction. Essentially, the claim is that if this

             defense had been raised, petitioner would not have been convicted. Under



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           Winestock, the Court must find what petitioner characterizes as a 60(b)

           motion as a successive petition and dismiss the same for lack of jurisdiction.

                  B. Petitioner’s Objections

           In his Objections, the petitioner essentially concedes that his claim for ineffective

    assistance of counsel is not cognizable under Rule 60(b); however, he argues that the

    magistrate judge likewise admitted that counsel was in fact careless or ignorant. Such

    arguments have no effect on this Court’s ruling.

                  C. District Court’s Findings

           This Court has reviewed the record and agrees with the magistrate judge’s analysis

    and conclusion. This Court finds that the magistrate judge’s finding is an accurate

    statement of law applicable to the petitioner’s claim. Simply put, “[a] Rule 60(b) motion that

    directly attacks a conviction or sentence is usually barred as a successive application.”

    Sanders v. United States, 2006 WL 1432347 (D.S.C. 2006); quoting United States v.

    Winestock, 340 F.3d 200, 206 (4th Cir. 2003). The Fourth Circuit has held that Rule 60(b)

    motions should be treated as successive applications for post-conviction relief under 28

    U.S.C. § 2255 when they present claims that are equivalent to additional habeas claims.”

    Hunt v. Nuth, 57 F.3d 1327, 1339 (4th Cir. 1995). In Winestock, the Fourth Circuit further

    mandated that “district courts must treat Rule 60(b) motions as successive collateral review

    applications when failing to do so would allow the applicant ‘to evade the bar against

    relitigation of claims presented in a prior application or the bar against litigation of claims

    not presented in a prior application.’” Id. at 206; quoting Calderon v. Thompson, 523 U.S.

    538, 553 (1998) (holding that courts must not allow prisoners to circumvent the strict



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    requirements of 28 U.S.C. § § 2254 and 2255 by attaching labels to petitions other than

    “successive application” for post-conviction relief).

           Further, “the United States Court of Appeals for the Fourth Circuit has expressly held

    that “a lawyer's ignorance or carelessness do [ sic ] not present cognizable grounds for

    relief under rule 60(b).” Vickers at *1; quoting In re Virginia Information Systems Corp.

    v. Wang Laboratories, Inc., 932 F.2d 338, 342 (4th Cir. 1991). This is clearly not an

    exceptional circumstance, and is no more than a lawyer not filing an action petitioner

    believed should be filed or not following through on a promise.

           These actions amount to nothing more than ‘ignorance’ or ‘carelessness’ on the

    behalf of the attorney. Accordingly, as the magistrate judge correctly points out in his R&R,

    this claim must be DISMISSED as successive.             As such, this Court finds that the

    petitioner’s Objection must be OVERRULED.

           V.     Conclusion

           For the foregoing reasons, and those more fully contained in the Magistrate Judge’s

    Report and Recommendation, the Court hereby ORDERS as follows:

           1.     The Magistrate Judge’s Report and Recommendation [Crim. Doc. 3:00-cr-

                  64 # 27; Crim. Doc. 3:00-cr-57 # 1402; Civ. Doc. 10] is ORDERED

                  ADOPTED;

           2.     The petitioner’s Motion to Set Aside Judgment Pursuant to Rule 60(b) of the

                  Federal Rules of Civil Procedure [Crim. Doc. 3:00-cr-64 # 23; Crim. Doc.

                  3:00-cr-57 # 1326; Civ. Doc. 9] is DENIED; and,

           3.     The petitioner’s Objections to the R&R [Crim. Doc. 3:00-cr-64 # 29; Crim.


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                Doc. 3:00-cr-57 # 1406] are hereby OVERRULED.

         As a final matter, it is ORDERED that this matter be CLOSED and STRICKEN from

  the active docket of the Court.

         It is so ORDERED.

         The Clerk is directed to transmit copies of this Order to all counsel of record and to

  mail a copy to the pro se petitioner.

         DATED: August 26, 2009.




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